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                          COMMONWEALTH OF MASSACHUSETTS
                                THE TRIAL COURT

MIDDLESEX, SS                                              SUPERIOR COURT DEPARTMENT
                                                           C. A. No. 1981-CV-00692


ALAN DECHTER, LEON KADIS, MERRY SMITH,
   TRAUTE MARSHALL, GEORGE FLESH, and
   REBECCA KATZ
                             Plaintiffs
                   v

CITY OF NEWTON SCHOOL COMMITTEE, RUTH
   GOLDMAN, in her official capacity as NEWTON
   SCHOOL COMMITTEE CHAIRPERSON, DAVID
   FLEISHMAN in his official capacity as NEWTON
   SUPERINTENDENT OF SCHOOLS, HENRY
   TURNER in his official capacity as PRINCIPAL OF
   NEWTON NORTH HIGH SCHOOL, JOEL
   STEMBRIDGE in his official capacity as PRINCIPAL
   OF NEWTON SOUTH HIGH SCHOOL, JONATHAN
   BASSETT in his official capacity as CHAIR OF THE
   HISTORY AND SOCIAL SCIENCES DEPARTMENT
   OF NEWTON NORTH HIGH SCHOOL, JENNIFER
   MORRILL in her official capacity as CHAIR OF THE
   HISTORY DEPARTMENT OF NEWTON SOUTH
   HIGH SCHOOL, DAVID BEDAR in his official
   capacity as HISTORY TEACHER AT NEWTON
   NORTH HIGH SCHOOL, and JAMIE RINALDI in his
   official capacity as HISTORY TEACHER AT NEWTON
   SOUTH HIGH SCHOOL
                                         Defendants


   PLAINTIFFS’ ASSENTED TO MOTION FOR EXTENSION OF TIME TO RESPOND TO
           DEFENDANTS’ MOTION TO DISMISS AND MOTION TO STRIKE


Plaintiffs request an extension of time to respond to Defendants’ Motions To Dismiss and

Motion to Strike. As grounds therefor, Defendants state that


   1) Plaintiffs filed the Complaint in this case on matter was filed on March 11, 2019, in the
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   Middlesex Superior Court.


2) On April 17, 2019, Defendants filed a Notice of Removal with the Federal Court, requesting

   that the matter be removed from the Superior Court based on Plaintiffs’ claim brought under

   the First Amendment of the Constitution of the United States.


3) Thereafter, Defendants asked if Plaintiffs would agree to an extension of time to file

   responsive pleadings, to which Plaintiffs agreed, and an assented to Motion for Extension of

   Time was filed and granted by the Court.


4) Defendants have filed a Motion to Dismiss and a Motion to Strike.


5) Plaintiffs have asked if Defendants would agree to a brief extension of time, until May 20, to

   respond to these Motions, and Defendants have agreed.


6) This short extension of time will not prejudice any party to this action.




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        WHEREFORE, Plaintiffs respectfully request an extension of time to May
20, 2019 to file their responses to the Defendants’ motions.




                                                       PLAINTIFFS
                                                       By their attorney,




                                                       Karen Hurvitz
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                                    CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies will be
sent to those indicated as nonregistered participants on May 10, 2019.
